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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BUSINESS INTEGRATION SERVICES, INC.,
Plaintiff, 06 Civ. 1863 (JGK)
- against - BENCH OPINION
AT&T CORP.,

Defendant.

 

JOHN G. KOELTL, District Judge:

For the reasons articulated on the record at the conference
on February 27, 2009, the defendant’s motion for summary
judgment is denied both with respect to the plaintiff’s breach
of contract claim and its unjust enrichment claim. The
plaintiff's motion to strike is denied as moot. The Clerk is

directed to close Docket Nos. 54 and 73.
SO ORDERED.

Dated: New York, New York :
February 27, 2009 4

ohn G. Koeltl
United/States District Judge

 

 

 

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